                              Case 22-12609         Doc 387      Filed 11/29/23      Page 1 of 1

                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Greenbelt
                                      In re:    Case No.: 22−12609 − LSS        Chapter: 7

William C Bevan Jr.
Debtor


                                               DEFICIENCY NOTICE
DOCUMENT:                  386 − Response Filed by William C Bevan Jr. (related document(s)354 Final Application for
                           Compensation and Reimbursement (Pre−Conversion) Administrative Compensation for Former
                           Counsel for the Chapter 13 Debtor and for Reimbursement of Expensesfiled by Interested Party
                           The Burns Law Firm, LLC). (McKenna, Shannon)

PROBLEM:                   The following items are deficient for the above pleading, and must be cured by 12/13/23.
                           Missing Signature on Certificate of Service

CURE:                      A SIGNED Certificate of Service on the above pleading must be filed. (Local Bankruptcy Rule
                           7005−2). Include the names and addresses of all parties served or attach a copy of the mailing
                           matrix.


CONSEQUENCE: Failure to cure the problem by the date above may result in the pleading being stricken or other
             action the Court deems appropriate without further notice. For a proposed order, the failure to
             cure the problem may result in the relief sought being denied for want of prosecution.

Sample Certificate of Service: http://www.mdb.uscourts.gov/sites/default/files/FORMS−COS.pdf.
Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 11/29/23
                                                                 Mark A. Neal, Clerk of Court
                                                                 by Deputy Clerk, Shannon McKenna
                                                                 301−344−3390

cc:    Debtor
       Attorney for Debtor − PRO SE

defntc (rev. 12/12/2016)
